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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE M IDDLE DISTRICT OF ALABAM A
                                EASTERN DIVISION

UNITED STATES OF AM ERICA                    )
                                             )
        v.                                   )   CR. NO. 2:05CR206-a
                                             )         WO
HAROLD THORNTON                              )

                                  ORDER ON MOTION

        U pon consideration of M ichael J. Petersen’s motion to withdraw and for

appointment of CJA panel attorney (Doc. # 37), filed N ovember 9, 2005, and for good

cause, it is

        ORDERED that the motion be and hereby is GRANTED. John M . Poti is ap p ointed

to represent the above-named defendant in this matter. Attorney Poti shall file a notice of

appearance on or before November 15, 2005.

        DONE, this 10th day of November, 2005.




                                          /s/ Susan Russ Walker
                                          SUSAN RUSS WALKER
                                          UNITED STATES M AGISTRATE JUDGE
